                   IN THE UNITED STATES DISTRICT COURT FOR TH
                              EASTERN DISTRICT OF VIRGINIA

                                                                                   CLERK, U.S. DISTRICT CGURT
                                        Alexandria Division                           ALEXANDRIA. VIRGINIA


 UNITED STATES OF AMERICA                               UNDERSEAL


         V.                                             Case No. l:21-CR-245


 Igor Y. Danchenko,

        Defendant.



                     GOVERNMENT'S MOTION TO SEAL INDICTMENT
                          PURSUANT TO LOCAL RULE 49rB)


       The United States, by and through undersigned counsel, pursuant to Local Rule 49(B)of

the Local Criminal Rules for the United States District Court for the Eastern District of Virginia,

asks for an Order to Seal the indictment, until the defendant is arrested.

I.     REASONS FOR SEALING (Local Rule 49(B)(1))

       1.      The Federal Bureau ofInvestigation is investigating Fale Statements.

       2.      Premature disclosure ofthe charges against the defendant would jeopardize an

ongoing criminal investigation threatening our ability to locate and arrest the defendant and may

lead to the destruction of evidence. Disclosure ofthe indictment would provide the defendant

and others with a roadmap ofthe ongoing criminal investigation, including the identity of agents

and potential witnesses involved.

II.    REFERENCES TO GOVERNING CASE LAW (Local Rule 49(B)(2))

       3.      The Court has the inherent power to seal indictments. See United States v.

Wuagneax,683 F.2d 1343, 1351 (11th Cir. 1982); State ofArizona v. Maypenny,672 F.2d 761,

765 (9th Cir. 1982); Times Mirror Company v. United States, 873 F.2d 1210(9th Cir. 1989); see

also Shea v. Gabriel, 520 F.2d 879(1st Cir. 1975); United States v. Hubbard,650 F.2d 293

(D.C. Cir. 1980); In re Braughton, 520 F.2d 765,766(9th Cir. 1975). "The trial court has
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supervisory power over its own records and may,in its discretion, seal documents ifthe public's

right of access is outweighed by competing interests." In re Knight Pub. Co., 743 F.2d 231,235

(4th Cir. 1984). Sealing the indictment is appropriate where there is a substantial probability

that the release ofthe sealed documents would compromise the government's on-going

investigation severely. See, e.g.. In re Search Warrantfor Secretarial Area Outside Office of

Gunn,855 F.2d 569, 574(8th Cir. 1988); Matter ofEye Care Physicians ofAmerica, 100 F.3d

514,518 (7th Cir. 1996); Matter ofFlower Aviation ofKansas, Inc., 789 F.Supp. 366(D. Kan.

1992).

III.     PERIOD OF TIME GOVERNMENT SEEKS TO HAVE MATTER REMAIN
         UNDER SEAL(Local Rule 49(B)(3))

         4.    The indictment Would need to remain sealed until the defendant is arrested.

         5.    Upon occurrence ofthe event specified in paragraph 4, pursuant to Local Rule

49(B)(3), the sealed materials will be automatically unsealed and handled as such.

         6.    The United States has considered alternatives less drastic than sealing and has

found none that would suffice to protect this investigation. The United States will move to unseal

the documents before they are set to become automatically imsealed if it determines that

circumstances warrant such action.

         WHEREFORE,the United States respectfully requests that the indictment and this

Motion to Seal and proposed Order be sealed until the defendant is arrested.

                                                     Respectfully submitted,

                                                     JOHN H. DURHAM
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